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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                           )
In re:                                                     )    Chapter 11
                                                           )
ENERGY FUTURE HOLDINGS CORP., et al.,1                     )    Case No. 14-10979 (CSS)
                                                           )
                         Debtors.                          )    (Jointly Administered)
                                                           )
                                                           )    Hearing Date: June 1, 2015 at 10:30 a.m.
                                                           )    Objection Deadline: May 26, 2015 at 4:00 p.m.

            NOTICE OF “THIRD MOTION OF ENERGY FUTURE HOLDINGS
         CORP., ET AL., FOR ENTRY OF AN ORDER EXTENDING THE DEBTORS’
           EXCLUSIVE PERIODS TO FILE A CHAPTER 11 PLAN AND SOLICIT
             ACCEPTANCES THEREOF PURSUANT TO SECTION 1121 OF
                 THE BANKRUPTCY CODE” AND HEARING THEREON

          PLEASE TAKE NOTICE that, on May 11, 2015, the above-captioned debtors and

debtors in possession (collectively, the “Debtors”) filed the attached Third Motion of Energy

Future Holdings Corp., et al., for Entry of an Order Extending the Debtors’ Exclusive

Periods to File a Chapter 11 Plan and Solicit Acceptances Thereof Pursuant to Section 1121

of the Bankruptcy Code (the “Motion”) with the United States Bankruptcy Court for the

District of Delaware (the “Bankruptcy Court”).

          PLEASE TAKE FURTHER NOTICE that any responses or objections to the Motion

must be in writing, filed with the Clerk of the Bankruptcy Court, 824 North Market Street, 3rd

Floor, Wilmington, Delaware 19801, and served upon and received by the undersigned co-

counsel for the Debtors on or before May 26, 2015 at 4:00 p.m. (Eastern Daylight Time).


          1
           The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The
location of the debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large
number of debtors in these chapter 11 cases, for which joint administration has been granted, a complete
list of the debtors and the last four digits of their federal tax identification numbers is not provided herein.
A complete list of such information may be obtained on the website of the debtors’ claims and noticing
agent at http://www.efhcaseinfo.com.



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         PLEASE TAKE FURTHER NOTICE that if an objection is timely filed, served and

received and such objection is not otherwise timely resolved, a hearing to consider such

objection and the Motion will be held before The Honorable Christopher S. Sontchi at the

Bankruptcy Court, 824 North Market Street, 5th Floor, Courtroom 6, Wilmington, Delaware

19801 on June 1, 2015 at 10:30 a.m. (Eastern Daylight Time).

        IF NO OBJECTIONS TO THE MOTION ARE TIMELY FILED, SERVED AND

RECEIVED IN ACCORDANCE WITH THIS NOTICE, THE BANKRUPTCY COURT MAY

GRANT THE RELIEF REQUESTED IN THE MOTION WITHOUT FURTHER NOTICE OR

HEARING.

                         [Remainder of page intentionally left blank.]




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Dated: May 11, 2015                        /s/ Jason M. Madron
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                                    Co-Counsel to the Debtors and Debtors in Possession




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